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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        :
                                                :
               v.                               :   Crim. No. 21-CR-127 (ABJ)
                                                :
JOSHUA BLACK,                                   :
                                Defendant.      :


             UNOPPOSED MOTION TO RESCHEDULE MOTIONS HEARING

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves this Court to reschedule the motions hearing that the Court set

for April 16, 2021, at 12:30 p.m. Counsel for defendant Joshua Black does not oppose this motion.

In support of this motion, the government now states the following:

       1.      On March 24, 2021, Black, through his defense counsel, filed a Motion to

Reconsider and Vacate Order of Detention. (ECF Nos. 15 and 16.) On April 1 and April 2, 2021,

the government filed an opposition to this motion and a supplement to the opposition. (ECF Nos.

20 and 21).

       2.      On April 9, 2021, the Court issued a minute order setting a motions hearing for

April 16, 2021, at 12:30 p.m.

       3.      Within minutes of receiving the minute order, counsel for Black and undersigned

counsel left a message for the Court’s courtroom clerk to inquire about rescheduling the motions

hearing due to undersigned counsel having an appointment on the morning of April 16 to receive

his second COVID-19 vaccination. That appointment was set three weeks in advance. Because

it has been widely reported that individuals who receive the second vaccination can experience
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flu-like symptoms and/or discomfort shortly after receiving that shot, undersigned counsel would

prefer not to schedule court appearances on April 16.

       4.      On April 12, 2021, the undersigned counsel spoke with the Court’s courtroom clerk,

who advised the undersigned counsel to file a motion to reschedule the motions hearing and

propose alternative dates that are mutually satisfactory for counsel.

       5.      If the Court is inclined to reschedule the motions hearing, both counsel for Black

and the undersigned counsel are available on the following dates and times, with a preference for

setting the earliest date possible for the Court:

               •   Thursday, April 15 – all day
               •   Monday, April 19 – all day
               •   Tuesday, April 20 – before Noon
               •   Wednesday, April 21 – before Noon

       6.      On April 12, 2021, the undersigned counsel corresponded with defense counsel,

who stated he does not oppose this motion.

       WHEREFORE, for the foregoing reasons, the government respectfully requests that the

Court GRANT its unopposed motion to reschedule the motions hearing.

                                               Respectfully submitted,

                                               CHANNING D. PHILLIPS
                                               Acting United States Attorney
                                               D.C. Bar No. 415793

                                       BY:     /s/ Seth Adam Meinero___________________
                                               SETH ADAM MEINERO
                                               Trial Attorney
                                               Detailee
                                               D.C. Bar Number 976587
                                               United States Attorney’s Office for the
                                                 District of Columbia
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                          CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that on April 12, 2021, I served a copy of this pleading on
defendant’s counsel through the Court’s electronic case files system.


                                     s/ Seth Adam Meinero___________________
                                     SETH ADAM MEINERO
                                     Trial Attorney
                                     Detailee




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